Case 1:22-cv-01037-CMA-NRN Document 1 Filed 04/28/22 USDC Colorado Page 1 of 7




                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLORADO
                                     DENVER DIVISION

                                      CASE NO.: 1:22-cv-01037

   ERIC PICKERSGILL,

                  Plaintiff,

   v.

   THE EGOTIST, LLC dba THE DENVER
   EGOTIST,

                  Defendant.


                      COMPLAINT FOR COPYRIGHT INFRINGEMENT
                          (INJUNCTIVE RELIEF DEMANDED)

         Plaintiff ERIC PICKERSGILL by and through his undersigned counsel, brings this

  Complaint against Defendant THE EGOTIST, LLC dba THE DENVER EGOTIST for damages

  and injunctive relief, and in support thereof states as follows:

                                   SUMMARY OF THE ACTION

         1.      Plaintiff ERIC PICKERSGILL (“Pickersgill”) brings this action for violations of

  exclusive rights under the Copyright Act, 17 U.S.C. § 106, to copy and distribute Pickersgill's

  original copyrighted Works of authorship.

         2.      Eric Pickersgill is a full time artist, husband, and father working in North

  Carolina. He received a Master of Fine Arts degree at The University of North Carolina at

  Chapel Hill in 2015. He was born in Homestead, Florida in 1986 and spent his teenage years in

  Charlotte, North Carolina. Eric received a Bachelor of Fine Arts degree with a concentration in

  Fine Art Photography from Columbia College Chicago in 2011. Between 2011 and 2013 Eric

  taught high school in Charlotte, NC via Teach for America. His passion for teaching and image



                                              SRIPLAW
                         CALIFORNIA ♦ GEORGIA ♦ FLORIDA ♦ TENNESSEE ♦ NEW YORK
Case 1:22-cv-01037-CMA-NRN Document 1 Filed 04/28/22 USDC Colorado Page 2 of 7




  making allows him to see the connections that the two share. The work Eric makes is often about

  photography as he explores the psychological and social effects that cameras and their artifacts

  have on individuals and societies as a whole. Eric has exhibited and presented his work

  internationally at institutions, galleries, and art fairs such as The North Carolina Museum of Art,

  Pantheon-Sorbonne University, The Ackland Art Museum, Rick Wester Fine Art, Pulse Art Fair

  Miami, AIPAD, and many more.

         3.      Defendant THE EGOTIST, LLC DBA THE DENVER EGOTIST (“Egotist”) is

  an exclusive platform built specifically to feature the work, talent, resources and point-of-view of

  your local creative market – wherever it may be. They have “networks” in many large U.S.

  cities, such as Denver, Atlanta, New York, Saint Louis and more. At all times relevant herein,

  Egotist owned and operated the internet website located at the URL

  https://www.thedenveregoist.com (the “Website”).

         Pickersgill alleges that Egotist copied Pickersgill's copyrighted Works from the internet

  in order to advertise, market and promote its business activities. Egotist committed the violations

  alleged in connection with Egotist’s business for purposes of advertising and promoting sales to

  the public in the course and scope of the Egotist’s business.

                                  JURISDICTION AND VENUE

         5.      This is an action arising under the Copyright Act, 17 U.S.C. § 501.

         6.      This Court has subject matter jurisdiction over these claims pursuant to 28 U.S.C.

  §§ 1331, 1338(a).

         7.      Defendant are subject to personal jurisdiction in Colorado.

         8.      Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) and 1400(a)

  because the events giving rise to the claims occurred in this district, Defendant engaged in


                                                  2
                                              SRIPLAW
                         CALIFORNIA ♦ GEORGIA ♦ FLORIDA ♦ TENNESSEE ♦ NEW YORK
Case 1:22-cv-01037-CMA-NRN Document 1 Filed 04/28/22 USDC Colorado Page 3 of 7




  infringement in this district, Defendant resides in this district, and Defendant are subject to

  personal jurisdiction in this district.

                                            DEFENDANT

          9.      The Egotist, LLC dba The Denver Egotist is a Colorado Corporation, with its

  principal place of business at 2 Central Street #13, Ipswich, MA 01938, and can be served by

  serving its Registered Agent, The Spoja Law Firm, P.C., 600 Grant Street, Suite 201, Denver,

  CO 80203.

                             THE COPYRIGHTED WORKS AT ISSUE

          The below table details the Copyright Titles, Registration Numbers and Registration

  Issue Dates of the works of intellectual property at issue in this case, one of which is shown

  below, and which are referred to herein as the “Works.” Copies of the Works are attached hereto

  as Exhibit 1. Copies of the Registration Certificate is attached hereto as Exhibit 2.


                                                                                  Registration Issue
  Copyright Title                                         Registration Number
                                                                                  Date


  Scooter Double Up                                       VAu 1-258-364           7/5/2016


  Grant_Eric_Pickersgill_Removed                          VAu 1-258-364           7/5/2016


  Tanya_and_Addi_Eric_Pickersgill_Removed                 VAu 1-258-364           7/5/2016


  Ex Couple                                               VAu 1-258-364           7/5/2016


  Michelle_and_Jimmy_Eric_Pickersgill_Removed             VAu 1-258-364           7/5/2016




                                                  3
                                              SRIPLAW
                          CALIFORNIA ♦ GEORGIA ♦ FLORIDA ♦ TENNESSEE ♦ NEW YORK
Case 1:22-cv-01037-CMA-NRN Document 1 Filed 04/28/22 USDC Colorado Page 4 of 7




  Wendy_Brian_Hunter_and_Harper_Eric_Pickersgill
                                                 VAu 1-258-364                    7/5/2016
  _Removed




          Pickersgill's Works are protected by copyright but are not otherwise confidential,

  proprietary, or trade secrets.

          12.     At all relevant times Pickersgill was the owner of the copyrighted Works at issue

  in this case.

                                   INFRINGEMENT BY DEFENDANT

          13.     Egotist have never been licensed to use the Works at issue in this action for any

  purpose.

          14.     On a date after the Works at issue in this action were created, but prior to the

  filing of this action, Egotist copied the Works.

                                                   4
                                               SRIPLAW
                          CALIFORNIA ♦ GEORGIA ♦ FLORIDA ♦ TENNESSEE ♦ NEW YORK
Case 1:22-cv-01037-CMA-NRN Document 1 Filed 04/28/22 USDC Colorado Page 5 of 7




          15.     On or about April 28, 2021, Pickersgill discovered the unauthorized use of his

  Works on the Website. The Works were used in an article written by The Denver Egotist

  specifically about Pickersgill and the ‘Removed’ series of photographs.

          16.     Egotist copied Pickersgill's copyrighted Works without Pickersgill's permission.

          17.     After Egotist copied the Works, it made further copies and distributed the Works

  on the internet to promote the sale of goods and services as part of its online networking

  publication.

          18.     Egotist copied and distributed Pickersgill's copyrighted Works in connection with

  Egotist’s business for purposes of advertising and promoting Egotist’s business, and in the

  course and scope of advertising and selling products and services.

          19.     Pickersgill's Works are protected by copyright but are not otherwise confidential,

  proprietary, or trade secrets.

          20.     Egotist committed copyright infringement of the Works as evidenced by the

  documents attached hereto as Exhibit 3.

          21.     Pickersgill never gave Egotist permission or authority to copy, distribute or

  display the Works at issue in this case.

          22.     Pickersgill notified Egotist of the allegations set forth herein on September 13,

  2021. To date, the parties have failed to resolve this matter. Copies of the Notices to Egotist are

  attached hereto as Exhibit 4.


                                   COPYRIGHT INFRINGEMENT

          23.     Pickersgill incorporates the allegations of paragraphs 1 through 22 of this

  Complaint as if fully set forth herein.

          24.     Pickersgill owns valid copyrights in the Works at issue in this case.

                                                  5
                                              SRIPLAW
                          CALIFORNIA ♦ GEORGIA ♦ FLORIDA ♦ TENNESSEE ♦ NEW YORK
Case 1:22-cv-01037-CMA-NRN Document 1 Filed 04/28/22 USDC Colorado Page 6 of 7




          25.     Pickersgill registered the Works at issue in this case with the Register of

  Copyrights pursuant to 17 U.S.C. § 411(a).

          26.     Egotist copied, displayed, and distributed the Works at issue in this case and made

  derivatives of the Works without Pickersgill's authorization in violation of 17 U.S.C. § 501.

          27.     Egotist performed the acts alleged in the course and scope of its business

  activities.

          28.     Egotist’s acts were willful.

          29.     Pickersgill has been damaged.

          30.     The harm caused to Pickersgill has been irreparable.

          WHEREFORE, the Plaintiff Eric Pickersgill prays for judgment against the Defendant

  The Egotist, LLC dba The Denver Egotist that:

                  a.      Defendant and its officers, agents, servants, employees, affiliated entities,

          and all of those in active concert with them, be preliminarily and permanently enjoined

          from committing the acts alleged herein in violation of 17 U.S.C. § 501;

                  b.      Defendant be required to pay Plaintiff his actual damages and Egotist’s

          profits attributable to the infringement, or, at Plaintiff's election, statutory damages, as

          provided in 17 U.S.C. § 504;

                  Plaintiff be awarded his attorneys’ fees and costs of suit under the applicable

          statutes sued upon;

                  d.      Plaintiff be awarded pre- and post-judgment interest; and

                  e.      Plaintiff be awarded such other and further relief as the Court deems just

          and proper.

                                            JURY DEMAND

          Plaintiff hereby demands a trial by jury of all issues so triable.
                                                     6
                                                 SRIPLAW
                          CALIFORNIA ♦ GEORGIA ♦ FLORIDA ♦ TENNESSEE ♦ NEW YORK
Case 1:22-cv-01037-CMA-NRN Document 1 Filed 04/28/22 USDC Colorado Page 7 of 7




  DATED: April 28, 2022                    Respectfully submitted,


                                           /s/Matthew L. Rollin
                                           MATTHEW L. ROLLIN
                                           matthew.rollin@sriplaw.com
                                           JONAH A. GROSSBARDT
                                           jonah.grossbardt@sriplaw.com

                                           SRIPLAW, P.A.
                                           8730 Wilshire Boulevard
                                           Suite 350
                                           Beverly Hills, CA 90211
                                           323.364.6565 – Telephone
                                           561.404.4353 – Facsimile

                                           and

                                           WILLIAM S. WENZEL
                                           wsw@wswlegal.com

                                           RED ROAD LEGAL, PC
                                           7650 East Kenyon Avenue
                                           Denver, CO 80237
                                           888.443.5485 – Telephone

                                           Counsel for Plaintiff Eric Pickersgill




                                             7
                                         SRIPLAW
                     CALIFORNIA ♦ GEORGIA ♦ FLORIDA ♦ TENNESSEE ♦ NEW YORK
